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                                                                                      STEVEN M.LAHIMORE
                                 caseNo.0:18-CV-61117r;B                               CLERK U.s DIST c'E
                                                                                      s D.oy F'LA,FT.LAUD.


 Steven B.Aubrey etaI.         ,Plaintiff

 VS.

 D Magazin: Partners,L.P.,Defendant


              CONSENT BY PRO SE LITIGANT (NON-PRISONER)TO RECEIVE
                             NOTICES OF ELECTRONIC FILING

          l    StevenAubrey                  am a pro se litigant(non-prisoner) and consentto
 receive noticeselectronically in theabovecase. In doing so,Iconsentto theCourtand opposing
 counsel using m y em ail address, as listed belom for the purpose of sending m e electronic
 notification oforders,notices,and otherdocum ents thatare filed in my case. Iunderstand that
 hard (paper)copieswillno longerbesentby theCourtoropposingcotmsel. By consentingto
 electronic notice,1understand thatlam responsible for maintaining a currentem ailaddress
 with the Court.1hereby certifythat:
          1have provided and willmaintain a currentemailaddressand mailing addresswith the
          Court.lwillfile aNotice ofChange ofAddress Form conventionally (i.e.,mailorin
          person)immediatelyifmyemailormailingaddresschanges while the above case is
          pending.tTheNoticeofChangeofAddressForm can befoundundertheProSeSection
          oftheCourt'swebsite@ www.flsd.uscourts.Mov.)
    W lam responsibleformaintaininganemailaccotmtsuftkienttoreceivenotifications,on a
          daily basis,from the Courtand opposing cotmsel. lalso tmderstand thatelectronic mail
          filtersoftware (SPAM Glters)may interfere with my receiptofemailnotifieationsand
          w illensure thatany such softw are installed on m y com puter ornetw ork w illnotflterout
          messagesfrom cmecfautosender@isd.uscouhs.gov.
       W I am responsible formanaging my emailaccountand am responsible forotherswho
          m any have accessto m y em ailaccount.

       W I have already registered or willimmediately registerfor a PACER account (Public
         Accessto CourtElectronicRecords).Iunderstand lwillnotreceive any notivesvia
         emailuntill have a PACER account.(To registerfor an accotmtorforadditional
           inform ation seethe Pro Se Section ontheCourt'swebsiteatwww.flsd.uscourts.gov orgo
           towww.pacer.gov.)
Case 0:18-cv-61117-BB Document 65 Entered on FLSD Docket 09/12/2018 Page 2 of 2




   W lunderstandthatwhen documentsareentered in CM/ECF,aNoticeofElectronicFiling
     (NEF)willbe sentto my emailaddress,which willcontain ahyperlink to thedoctlment
       in PACER. l also understand thatpursllantto PACER'S policy,1 willbe allowed one
       ttfree look''atthe docum ent and that it is recomm ended that I printor download the
       doctlmentatthattim ebecause aftertheone Elfree look'',normalPACER feeswillapply.
       lalso tmderstand thatthehyperlink to accessthe docum entwillexpireafter1firstaccess
       thedocum entorafter 15 days,whichevercom esfirst.

   W Iam responsible formaintaining my PACER accotmtwhilethe above case ispending,
     including any incurred fees.(Note:M ostPACER usersdonotaccrueenough chargesto
     actuallypayanyfees).

   W    Iunderstand and willcomply with the following computerhardware and software
       requirements necessary to recelve electronic notices via the CM /ECF system :W indows
       or M acintosh operation system ;Javascript enabled brow ser;and lnternet Explorer or
       Firefox browser supported by CM/ECF (See Pro Se Section on Court's website at
       www.tlsd.uscourts.cov for browser information). I also understand that high speed
       internetaccessis strongly recom mended overdial-up internetservice,which willreduce
       the am otm toftim e to dow nload lengthy docum ents.

       lfurthertmderstand thatreceiving ofNoticesofElectronic Filings(NEF)isaprivilege,
 notaright,and may be rescinded by the Courtatany time,withoutnotice,atwhich tim enotices
 willbeprovided viatheU .S mail.


       W herefore, the undersigned hereby agrees to the above conditions and elects to
 electronicallyreceiveNoticesofElectronicFiling (NEF)totheemailaddresslistedbelow while
 theabove caseispending.



 Date: 9/11/2018

                                                 Signatureof roseLitigant(Non-pris ner)
                                                 Em ailAddress:defamationpe-e@ mailacom
                                                 StreetA ddress: 2601 NW 3rd Ave.
                                                 City,State,Zip Code:W ilton Manoo ,FL33311
                                                 TelephoneNo: (512)6664004
